Case 4:21-cv-00307-SDJ Document 47-1 Filed 04/12/22 Page 1 of 6 PageID #: 724




                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION



JAMES CELESTE, Individually and on         § CIVIL ACTION NO. 4:21-cv-00307-SDJ
Behalf of All Others Similarly Situated,   § [LEAD CASE]
                                           §
        Plaintiff,                         § CLASS ACTION
                                           §
        v.                                 §
                                           §
INTRUSION, INC., JACK B. BLOUNT,           §
MICHAEL L. PAXTON, B. FRANKLIN             §
BYRD, T. JOE HEAD, GARY DAVIS, and         §
JAMES GERO,                                §
                                           §
       Defendants.
GEORGE NEELY and JOAN NEELY,               § CIVIL ACTION NO. 4:21-cv-00374-SDJ
Individually and on Behalf of All Others   § [CONSOLIDATED]
Similarly Situated,                        §
                                           § CLASS ACTION
   Plaintiff,                              §
                                           §
   v.                                      §
                                           §
INTRUSION, INC., JACK B. BLOUNT,           §
MICHAEL L. PAXTON, B. FRANKLIN             §
BYRD, T. JOE HEAD, GARY DAVIS, and         §
JAMES GERO,                                §
                                           §
   Defendants.



 [PROPOSED] AGREED ORDER STAYING PROCEEDINGS PENDING THE FILING
      OF A MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
                           SETTLEMENT

        WHEREAS, on April 16, 2021, James Celeste filed a putative class action complaint

(the “Complaint”) asserting claims pursuant to Sections 10(b) and 20(a) of the Securities




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Case 4:21-cv-00307-SDJ Document 47-1 Filed 04/12/22 Page 2 of 6 PageID #: 725




Exchange Act of 1934, 15 U.S.C. §§ 78j(b), 78t(a), and Rule 10b-5 promulgated by the U.S.

Securities and Exchange Commission (Civil Action No. 4:21-cv-00307, the “ Celeste Action”);

        WHEREAS, on May 14, 2021, George and Joan Neely filed a related putative class

action complaint asserting similar and related claims (Civil Action No. 4:21-cv-00374-SDJ, the

“Neely Action”);

        WHEREAS, on November 23, 2021, the Court entered orders consolidating the Neely

Action with the Celeste Action, designating the Celeste Action as the lead case (Dkt. No. 31),

and appointing movant Andrew Bronstein as Lead Plaintiff (“Lead Plaintiff”) and approving

Lead Plaintiff’s selection of The Rosen Law Firm, P.A., as lead counsel (“Lead Counsel”) and

Steckler Wayne Cochran Cherry PLLC as liaison counsel (Dkt. No. 32). 1

        WHEREAS, on December 10, 2021, the Court issued its order (Dkt. No. 37) setting a

briefing schedule for motions to dismiss the operative complaint (the “Scheduling Order”);

        WHEREAS, on February 7, 2022, Lead Plaintiff filed an amended putative class action

complaint (Dkt. No. 38, the “Amended Complaint”), naming additional defendants;

        WHEREAS, on February 10, 2022, the Lead Plaintiff and Defendants Intrusion, Inc.,

Jack B. Blount, Michael L. Paxton, B. Franklin Byrd, T. Joe Head, Gary Davis, and James Gero

(the “Defendants”, and together with Lead Plaintiff, the “Parties”) filed a Joint Motion for Order

Continuing Deadlines for Motion to Dismiss Briefing (Dkt. No. 40), notifying the Court that the

parties planned to engage in mediation, and requesting that all dates in the Scheduling Order for

briefing of the contemplated motion to dismiss be extended 45 days so that the Parties might




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 On March 21, 2022, Lead Plaintiff filed an unopposed motion to permit Brayden M. Wayne and Steckler
Wayne Cochran Cherry, PLLC to withdraw as liaison counsel and to appoint Cochran Law PLLC and
Stuart L. Cochran as substitute liaison counsel (Dkt. No. 44), which was granted by the Court by its order
dated March 23, 2022 (Dkt. No. 45).


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Case 4:21-cv-00307-SDJ Document 47-1 Filed 04/12/22 Page 3 of 6 PageID #: 726




conserve resources and explore possible resolution, which motion was granted by the Court’s

order issued February 28, 2022 (Dkt. No. 41);

       WHEREAS, pursuant to the Court’s order issued February 28, 2022, Defendants’

motion(s) to dismiss are to be filed on or before June 9, 2022, with Plaintiffs’ brief(s) in

opposition to be filed on or before August 8, 2022, and any reply brief(s) on or before September

22, 2022;

       WHEREAS, the Parties engaged in a mediation on April 5, 2022, at the conclusion of

which the Parties executed a settlement term sheet setting forth the material terms associated

with the resolution of this action (the “Settlement Term Sheet”);

       WHEREAS, in accordance with the Settlement Term Sheet, the Parties agree to cease all

litigation activities in this action, except those related to the negotiation of the final stipulation

and agreement of settlement and related agreements and preparation for seeking preliminary

approval of the settlement from the Court;

       WHEREAS, the Parties agree that a stay of proceedings while the Parties negotiate the

final stipulation and agreement of settlement and prepare for seeking preliminary approval of the

settlement would promote judicial economy; and

       WHEREAS, it is in the interest of the Parties and the interest of justice to minimize the

expenditure of judicial time and resources by resolving administrative issues by mutual

agreement where possible;




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Case 4:21-cv-00307-SDJ Document 47-1 Filed 04/12/22 Page 4 of 6 PageID #: 727




       IT IS HEREBY ORDERED THAT:

       1.      With the exception of activities related to the negotiation of the final stipulation

and agreement of settlement and preparation for seeking preliminary approval of the settlement

from the Court, all proceedings in this case are stayed.

       2.      Current court proceedings in this action (including any deadlines or filing

requirements) are suspended.

       3.      Neither Plaintiffs nor Defendants waive their rights to seek a lift of this stay from

each other or the Court.

       IT IS SO ORDERED.




                                                 4
Case 4:21-cv-00307-SDJ Document 47-1 Filed 04/12/22 Page 5 of 6 PageID #: 728




AGREED AS TO SUBSTANCE AND FORM:



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                                              5
Case 4:21-cv-00307-SDJ Document 47-1 Filed 04/12/22 Page 6 of 6 PageID #: 729




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                                               6
